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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 ROBERT CHARLES CLASS A, L.P.,                         Civil Action No. 3:21-cv-01709
 individually and on behalf of itself and all
 other individuals similarly situated,

                                Plaintiff,

        v.

 NATWEST MARKETS PLC, NATWEST
 MARKETS SECURITIES INC. (F/K/A RBS
 SECURITIES INC.) AND JOHN DOE 1-50,

                                Defendants.


                NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Robert Charles Class A, L.P. hereby

gives notice that the above captioned action (Case No. 3:21-cv-01709) is voluntarily dismissed

without prejudice against Defendants NatWest markets PLC and NatWest Markets Securities Inc.

(collectively, “Defendants”). Voluntary dismissal without prejudice is appropriate because

Defendants have not filed any responsive pleading in this matter.

Date: January 27, 2022                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I, Joseph P. Guglielmo, hereby certify that a copy of the foregoing was filed electronically

with the Clerk of Court using the CM/ECF system, which will send a notice of electronic filing to

all counsel of record who have consented to electronic notification.


                                                            /s/ Joseph P. Guglielmo
                                                            Joseph P. Guglielmo




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